               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF WISCONSIN


WILLIAM FEEHAN,

            Plaintiff,

      v.                                   Case No. 20-CV-1771

WISCONSIN ELECTIONS COMMISSION,
and its members ANN S. JACOBS, MARK
L. THOMSEN, MARGE BOSTELMAN,
JULIE M. GLANCEY, DEAN KNUDSON,
ROBERT F. SPINDELL, JR., in their
official capacities, GOVERNOR TONY
EVERS, in his official capacity,

            Defendants.


       DEFENDANTS WISCONSIN ELECTIONS COMMISSION
           AND ITS MEMBERS’ MOTION TO DISMISS


      Defendants Wisconsin Elections Commission, Ann S. Jacob, Mark L.

Thomsen, Marge Bostelman, Julie M. Glancey, Dean Knudson, and Robert F.

Spindell, Jr., by their attorneys, hereby move the Court for an order as follows.

      Pursuant to Federal Rules of Civil Procedure 12(b)(6), these Defendants

move this court for an order dismissing the complaint against them. As a basis

for this motion, these Defendants incorporate by reference their brief in

support of the motion to dismiss, which is filed herewith.
      Plaintiff is notified that pursuant to Civil L. R. 7(b) (E.D. Wis.), his

response in opposition to this motion must be filed within 21 days of service of

this motion.

      Dated this 7th day of December 2020.

                                    Respectfully submitted,

                                    JOSHUA L. KAUL
                                    Attorney General of Wisconsin

                                    Electronically signed by:

                                    s/ S. Michael Murphy
                                    S. MICHAEL MURPHY
                                    Assistant Attorney General
                                    State Bar #1078149

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